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      5
          Attorney for Defendant
      6   Juan Rosas Jr.
      7

      8                      IN THE UNITED STATES DISTRICT COURT
      9                    FOR THE EASTERN DISTEICT OF CALIFORNIA
     10

     11   UNITED STATES OF AMERICA,                ) Case No.: 1:05-cr-00349-OWW
                                                   )
     12               Plaintiff,                   ) STIPUALATION AND ORDER TO
                                                   ) CONTINUE SENTENCING
     13         vs.                                )
                                                   )
     14   JUAN ROSAS,                              ) Dated: January 22, 2007
                                                   ) Time: 9:00 A.M.
     15               Defendant.                   ) Judge: Oliver W. Wanger
                                                   )
     16                                            )
                                                   )
     17

     18         IT IS HEREBY STIPULATED by and between the parties hereto
     19   through their respective counsel, Stanley A. Boone, Assistant
     20   United States Attorney, for Plaintiff United States, and Ian
     21   Heuston for defendant Juan Rosas, that the Sentencing currently
     22   scheduled for 1/22/2007 be continued to 3/5/2007 at 9:00 a.m.in
     23   the above-entitled court.
     24         The parties also agree that the delay resulting from the
     25   continuance shall be excluded in the interests of justice,
     26   pursuant to 18 U.S.C. sec. 3161 (h)(8)(A). Defendant has
     27   tendered a guilty plea.



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      2
          Dated: 1/17/2007
      3                                          By      /s/ Stanley A. Boone____
                                                         STANLEY A. BOONE
      4                                                  Assistant U.S. Attorney
      5
          Dated: 1/17/20007                              /s/ Ian F. Heuston_____
      6
                                                         IAN F. HEUSTON
      7                                                  Attorney for Defendant

      8

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                                            ************

     11                                          ORDER

     12         IT IS SO ORDERED.
     13

     14   DATED: 1/17/07                         /s/ Oliver W. Wanger
                                                 _____________________________
     15
                                                 OLIVER W. WANGER
     16                                          U.S. DISTRICT COURT JUDGE

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